Case 5:21-cv-01068-RSWL-KS Document 10 Filed 10/07/21 Page 1of2 Page ID #:47

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. EDCV 21-1068 RSWL (KS) Date: October 7, 2021

Title Manual Herrera v. T. Jusino

 

 

Present: The Honorable: Karen L. Stevenson, United States Magistrate Judge

 

 

 

Gay Roberson N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Petitioner: Attorneys Present for Respondent:

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE: FAILURE TO FILE
OPPOSITION TO MOTION TO DISMISS [DKT. NO. 5]

On June 21, 2021, Petitioner, a federal prisoner proceeding pro se, filed a Petition for
Writ of Habeas Corpus pursuant to 28 U.S.C. § 2241 claiming he has not received certain
sentence credits to which he was ostensibly entitled. (Dkt. No. 1 (the “Petition’”).) On August
5, 2021, Respondent filed a motion to dismiss the Petition on the ground that Petitioner has
not exhausted his administrative remedies (“Motion”). (Dkt. No. 5.) The Motion’s Proof of
Service reflects that Respondent served a copy of the Motion on Petitioner by placing it in the
U.S. Mail on August 11, 2021. (Dkt. No. 9.)

According to the Court’s Order Requiring Response to Petition, Petitioner’s Opposition
to the Motion was due within 30 days of service of the Motion, on or before September 10,
2021. (Dkt. No. 3 at 3.) More than three weeks have now passed since Petitioner’s September
10, 2021 deadline. Petitioner has not filed an Opposition, sought an extension of time to do
so, nor has he made any contact with the Court for more than two months. (See Dkt. No. 6.)

Local Rule 7-12 states that a party’s failure to file a required document such as an
opposition to a motion “may be deemed consent to the granting [ | of the motion.” Further,
pursuant to Rule 41(b) of the Federal Rules of Civil Procedure, an action may be subject to
involuntary dismissal if a Petitioner “fails to prosecute or to comply with these rules or a court
order.” Thus, the Court may properly recommend dismissal of the action for Petitioner’s
failure to oppose the Motion and timely comply with the Court’s orders.

However, in the interests of justice, Petitioner is ORDERED TO SHOW CAUSE on
or before October 28, 2021 why the action should not be dismissed under Local Rule 7-12

 

CV-90 (03/15) Civil Minutes — General Page 1 of 2
Case 5:21-cv-01068-RSWL-KS Document 10 Filed 10/07/21 Page 2of2 Page ID #:48

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. EDCV 21-1068 RSWL (KS) Date: October 7, 2021

Title Manual Herrera v. T. Jusino

and Rule 41(b) of the Federal Rules of Civil Procedure. In order to discharge this Order and
proceed with this action, Petitioner must file by the October 28, 2021 deadline one of the
following: (1) a complete and detailed opposition (in a manner fully complying with the Local
Rules) to the Motion to Dismiss; or (2) a request for an extension of time to file the Opposition
accompanied by a sworn declaration (not to exceed 3 pages) establishing good cause for
Petitioner’s failure to timely respond to the Motion.

Alternatively, Petitioner may discharge this Order and dismiss this case by filing a
signed document entitled a “Notice of Voluntary Dismissal” requesting the voluntary dismissal
of the action without prejudice pursuant to Rule 41(a)(1) of the Federal Rules of Civil
Procedure.

Petitioner is cautioned that his failure to timely comply with this order will lead
to a recommendation of dismissal based on Local Rule 7-12 and Rule 41 of the Federal
Rules of Civil Procedure.

IT IS SO ORDERED.

Initials of Preparer _ or

 

CV-90 (03/15) Civil Minutes — General Page 2 of 2
